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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA for the use
of KIMO CONSTRUCTORS, INC., a New
Mexico corporation,

Plaintiff,
vs. No. 1:19-cv-00565-SWS-MLC

THE OHIO CASUALTY INSURANCE COMPANY,

a New Hampshire corporation, E-CORP, a Utah
corporation, SHIVER SOUTHWEST LLC, a New Mexico
limited liability company, JAKE SHIVER, an individual,
and JAMIE SHIVER, an individual all jointly and
severally,

Defendants.
STIPULATED DISMISSAL WITH PREJUDICE

The above matter having been resolved between Plaintiff and Defendant Shiver

Southwest, LLC and Defendants Jake Shiver and Jamie Shiver, and the other Defendants

having been previously dismissed, Plaintiff and Defendant Shivers hereby stipulate that

the above matter be dismissed with prejudice.

Approved:

“We HURST & APODACA, P.C. LAW OFFICES OF TIBO J. CHAVEZ, JR.

 

 

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Wayne MV ee Tibo Chavez

Counsel for Plaintiff Counsel for Defendants Shiver
2420 Comanche NE, Ste. H-6 P.O. Box 569

Albuquerque, NM 87107 Belen, NM 87002

Telephone: (505) 881-4545 Telephone: (505) 864-4428

wbingham@binghamhurst.com tchavezlaw@gmail.com
